EXHIBIT A
                                                                                                            Page 1

Not Reported in F.Supp.2d, 2008 WL 341425 (N.D.Tex.)
(Cite as: 2008 WL 341425 (N.D.Tex.))



  Only the Westlaw citation is currently available.
                                                            From 1997-1999, the Defendants in this case obtained
             United States District Court,                  loans from Rabo Agservices, Inc. (ASA) as either
                     N.D. Texas,                            debtors or guarantors. These loans allowed the De-
                  Amarillo Division.                        fendants to conduct farming operations on approxi-
  RABO AGRIFINANCE, INC., an Iowa Corpora-                  mately ten sections of land in Deaf Smith County,
                    tion, Plaintiff,                        Texas. The loans were secured by liens upon and
                           v.                               security interests in the assets of Veigel Farm Partners
VEIGEL FARM PARTNERS, a general partnership                 and Terra XXI, Ltd. This included a deed of trust lien
d/b/a Veigel Partners, Veigel Farms, Inc., Terra XXI,       on the land in Deaf Smith County. In total, there were
 Ltd., Grain Central Station, Inc., a corporation d/b/a     four loans made.
   Veigel Grain Company, Veigel-Kirk, Inc., Bob
Veigel, Inc., Steve Veigel Individually, Vicki Veigel,        • March 20, 1997: ASA agreed to advance up to
    Inc., and Veigel Cattle Company, Defendants.              $450,000 and Defendants executed a promissory
                  No. 2:05-CV-243.                            note that was to be payable on or before January 31,
                                                              1998. This note was supplemented on May 19,
                     Feb. 7, 2008.                            2005, increasing the maximum advance amount to
                                                              $525,000.
William T. Reid, IV, Barbara Whiten Balliette, Dia-
mond, McCarthy, Taylor, Finley, Bryant & Lee, Aus-            • May 8, 1998: ASA agreed to advance up to
tin, TX, Thomas C. Riney, Riney & Mayfield, LLP,              $700,000 and Defendants executed a promissory
Amarillo, TX, W. Christopher Boyer, Crenshaw,                 note that was to be payable on or before January 31,
Dupree & Milam, Lubbock, TX, for Plaintiff.                   1999.

Van W. Northern, Northern Law Firm, Amarillo, TX,             • May 20, 1998: ASA agreed to advance funds up to
for Defendants.                                               $150,000 and Defendants executed a promissory
                                                              note that was to be payable on or before January 31,
            MEMORANDUM OPINION                                1999. This note was amended on November 12,
                                                              1998, increasing the maximum advance amount to
                                                              $797,468.40.
MARY LOU ROBINSON, District Judge.

                                                              • May 18, 1999: ASA agreed to advance funds up to
*1 Plaintiff Rabo Agrifinance, Inc. filed suit against
                                                              $785,000 and Defendants executed a promissory
the above-named Defendants seeking monetary relief
                                                              note that was to be payable on or before January 31,
pursuant to Texas Property Code § 51.003 for the
                                                              2000.
deficiency resulting from foreclosure on a deed of
trust lien. The Plaintiff alleges this deed of trust lien
served as security for a series of notes made and           In connection with these four notes, the Defendants
owned by Defendants, and that Defendants defaulted          executed and delivered deeds of trust for the benefit of
on these notes. On December 21, 2007, Plaintiff filed       Ag Acceptance Corporation (“AAC”), an entity re-
a motion for summary judgment. On January 4, 2008,          lated to ASA. These deeds of trust were recorded in
Defendants filed their response. With leave of the          Deaf Smith County, and provided that in the event of a
Court, Plaintiff supplemented the summary judgment          default on the notes, the Plaintiff can request that the
record on January 22, 2008. Plaintiff filed a reply on      trustee foreclose on the lien and sell the property at
January 24, 2008. Plaintiff's motion for summary            public auction.
judgment is GRANTED.
                                                            Veigel Farm Partners filed for bankruptcy in August
                  BACKGROUND                                2000. Terra XXI, Ltd. filed for bankruptcy shortly




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thereafter. Agreed orders were entered on December          the record shows that there is no genuine issue of
10, 2001 in both bankruptcy cases. The amounts owed         material fact and that “the moving party is entitled to
to ASA were fully secured by the various liens and          judgment as a matter of law.” Fed.R.Civ.P. 56(c). A
security interests, which included a second lien on the     party who moves for summary judgment has the
Deaf Smith County land. The bankruptcies led both           burden to identify the parts of the pleadings and dis-
VFP and Terra XXI to file a complaint against ASA,          covery on file that, together with any affidavits, show
which was resolved before trial. The memorandum             the absence of a genuine issue of material fact. See
settlement agreement was executed on October 20,            Celotex Corp. v. Catrett, 477 U.S. 317, 325, 106 S.Ct.
2002, and the bankruptcy court dismissed all causes of      2548, 91 L.Ed.2d 265 (1986). If the movant carries
action against ASA the next day. After clarification by     this burden, then the burden shifts to the nonmovant to
the bankruptcy court, a more detailed settlement            show that the Court should not grant summary judg-
agreement was executed. The principal sum of the            ment. Id. at 324-25. The nonmovant must set forth
liens was restated to $1,500,000 plus interest as of        specific facts that show a genuine issue for trial. An-
October 21, 2002. At that time, Terra XXI executed          derson v. Liberty Lobby, Inc., 477 U.S. 242, 256, 106
and delivered to ASA a lien extension agreement,            S.Ct. 2505, 91 L.Ed.2d 202 (1986). The nonmovant
which was recorded.                                         cannot rely on conclusory allegations, improbable
                                                            inferences, and unsupported speculation. Krim v.
*2 VFP and Terra XXI defaulted on their obligations         BancTexas Group, Inc., 989 F.2d 1435, 1449 (5th
under these agreements. Veigel Farm Partners and            Cir.1993). The Court must review the facts and draw
Terra XXI were sent notices of default and accelera-        all inferences most favorable to the nonmovant. Reid
tion. Notice of foreclosure of AAC's deed of trust lien     v. State Farm Mut. Auto. Ins. Co., 784 F.2d 577, 578
upon the Deaf Smith County property was also given.         (5th Cir.1986).
A foreclosure sale was held on September 2, 2003.
AAC was the sole bidder, and foreclosed on ASA's                      Recovery on a Promissory Note
second lien position for $20,000. This position was
subject to prior encumbrances and unpaid ad valorem         Recovery on promissory notes requires proof that (1)
taxes. A substitute trustee's deed was issued in favor of   the Defendant signed the notes; (2) the Plaintiff is the
AAC.                                                        present owner or holder of the notes; and (3) the notes
                                                            are in default. U.S. v. Lawrence, 276 F.3d 193, 197
Plaintiff now claims that Defendants owe in defi-           (5th Cir.2001), citing FDIC v. Selaiden Builders, Inc.,
ciency the balance of the various notes, accrued in-        973 F.2d 1249, 1254 (5th Cir.1993). On each of these
terest, the ad valorem taxes that ASA paid, and the         three elements, there is no genuine issue of material
additional costs that were associated with the sale;        fact.
minus the $20,000 credit from the proceeds of the
Trustee's Sale and other credits. Plaintiff now requests    First, the Defendants signed the notes. The $450,000
a deficiency judgment for the amount of                     note was signed by all Defendants except Terra XXI
$1,964,355.06, minus the credits they will give De-         Ltd., as shown in pages 25-35 of the Appendix to
fendants when the equipment foreclosed on in case           Plaintiff's Motion for Summary Judgment (“Plaintiff's
2:06-cv-153 is sold.                                        Appendix”). The $700,000 note was signed by all
                                                            Defendants (Plaintiff's Appendix, pg. 36-47); the
Plaintiff seeks summary judgment on the issues of           $150,000 note was signed by all Defendants (Plain-
recovery on a promissory note and recovery for a            tiff's Appendix, pg. 48-54 ); and the $785,000 note was
deficiency judgment. Defendants claim that the af-          signed by all Defendants except Vicki Veigel Inc.
firmative defense of res judicata, the affirmative de-      (Plaintiff's Appendix, pg. 55-64). When Defendants
fense of statute of limitations, and factual disputes       Veigel Farm Partners and Terra XXI filed for bank-
surrounding Plaintiff's ownership of the right to re-       ruptcy protection in August and September of 2000,
cover a deficiency prevent summary judgment.                the second lien debt was preserved in the December
                                                            2001 bankruptcy plans. Plaintiff's Appendix, pg. 103,
                    DISCUSSION                              116. As a result of a bankruptcy-related lawsuit being
                                                            settled, the Second Lien Debt obligation was reduced
This Court may grant summary judgment on a claim if         to $1,500,000. That settlement agreement was signed




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by all of the Defendants. Plaintiff's Appendix, pg.         owns the notes in question.
70-86. All Defendants except Veigel Farm Partners
then signed a ratification of unlimited guaranty.           Third, the notes are in default. In fact, there has al-
Plaintiff's Appendix, pg. 87-91. In their response,         ready been a foreclosure because of the default. In the
Defendants provide no facts to challenge the signa-         related state court action, Cause No. CI-04B-011, the
tures on the notes. There is no genuine issue of mate-      court ruled on summary judgment that the foreclosure
rial fact that the Defendants signed the notes in ques-     was not wrongful. 22nd District Court Opinion, ¶ 14.
tion.                                                       Additionally, the jury found that the foreclosure was
                                                            not wrongful. Plaintiff's Appendix, pg. 150. The De-
*3 Second, the Plaintiff is the present owner of the        fendants have offered no evidence to show that they
notes. Ag Services of America (ASA) was the original        were not in default, and there is no genuine issue of
lender on the 1997 and 1998 notes. Plaintiff's Appen-       material fact.
dix, exhibits 2A-2D. These notes were endorsed from
ASA to Ag Acceptance Corporation, resulting in Ag                   Recovery for a Deficiency Judgment
Acceptance Corporation holding the debt and ASA
servicing the notes. Afidavit of John Roth (“Roth           Recovery for a deficiency judgment after foreclosure
affidavit”), ¶ 7. In September 2003, Ag Acceptance          requires proof of: (1) the amount due on the note at the
Corporation foreclosed on property in Deaf Smith            time of the foreclosure; (2) proper notice of accelera-
County while they still owned the debt. Id. at ¶ 10. In     tion having been given; (3) a valid foreclosure sale
October 2003, the debt was transferred back to ASA          having taken place; and (4) credit given for the amount
from Ag Acceptance Corporation. Id. at ¶ 11. Rabo           received at the foreclosure sale and any other legiti-
Agrifinance, Inc., the Plaintiff in this case, is the       mate credits. Thompson v. Chrysler First Business
successor entity to ASA. Id.                                Credit Corp., 840 S.W.2d 25, 28 (Tex.App.-Dallas,
                                                            1992, no writ), citing Caruth Mortgage Corp. v. Ford,
To challenge this summary judgment evidence of              630 S.W.2d 897, 899 (Tex.App.-Houston [1st Dist.]
ownership, Defendants make two arguments. They              1982, no writ) and Williams v. Henderson, 580
allege that there are inconsistent ownership statements     S.W.2d 37, 39-40 (Tex.Civ.App.-Houston [1st Dist.]
in other evidence before the Court and that the affi-       1979, no writ).
davit evidence is insufficient for summary judgment
purposes. Defendants claim the ownership infor-             *4 First, Plaintiff has submitted proof of the amount
mation is contradicted by prior testimony from John         due on the note at the time of the foreclosure. The
Roth, testimony before the Court by Ms. Kobliska,           spreadsheet attached to John Roth's affidavit shows
and the deposition testimony of Robert Stevens. The         the amount due at the time of foreclosure was
prior affidavit of John Roth was made in September of       $1,610,042.86. Plaintiff's Appendix, Exhibit 2J. De-
2006. Defendant's Appendix, Exhibit 4. The affidavit        fendants have introduced no evidence to contradict
was therefore made prior to ASA changing its name to        this figure. There is no genuine issue of material fact
Rabo AgServices Inc. and merging with Rabo                  as to this amount being owed at the time of foreclo-
Agrifinance Inc., resulting in the company that is the      sure.
plaintiff in the present case. Plaintiff's Appendix, Roth
Affidavit, ¶ 3. The other testimony also describes the
status of the debt prior to the merger. There is no         Second, proper notice of acceleration was given. This
contradiction, and Defendants have brought forth no         issue was resolved in the state court case, Cause No.
evidence to dispute the present ownership of the debt.      CI-04B-011, and is therefore res judicata. The prin-
Additionally, the affidavit testimony here is sufficient.   ciple of res judicata is that “an existing final judgment
With no “controverting evidence, affidavit testimony        rendered upon the merits by a court of competent
together with a true and correct copy of a note proves      jurisdiction upon a matter within its jurisdiction is
ownership for summary judgment purposes.” Bean v.           conclusive of the rights of the parties in all other ac-
Bluebonnet Sav. Bank FSB, 884 S.W.2d 520, 522               tions on the points at issue and adjudicated in the first
(Tex.App.-Dallas 1984, no writ); see also Zarges v.         suit.” Abbott Laboratories v. Gravis, 470 S.W.2d 639,
Bevan, 652 S.W.2d 368,369 (Tex.1983) (per curium).          642 (Tex.1971), citing Permian Oil Co. v. Smith, 129
There is no genuine issue of material fact that Plaintiff   Tex. 413 (1937), 2 Freeman on Judgments (5th ed.)
                                                            1322. If a particular issue is resolved in a prior suit,




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collateral estoppel prevents its relitigation later in        propriate because they have an affirmative res judi-
another suit. Barr v. Resolution Trust Corp., 837             cata defense against the Plaintiff. Defendants claim
S.W.2d 627, 628 (Tex.1992). The court ruled that the          that Plaintiff's cause of action in this case is barred by
Plaintiff in this case was entitled to summary judg-          a final judgment in the related state court case. They
ment on the issue of having given proper notice of            argue that the Plaintiff's present claim qualifies as a
acceleration. 22nd District Court Opinion, ¶ 15. There        compulsory counter-claim in the related state-court
is no genuine issue of material fact that proper notice       action. Defendants argue that since the claim was
of acceleration was given.                                    compulsory and was not filed, it is barred. This ar-
                                                              gument fails for two reasons.
Third, a valid foreclosure sale took place. This issue is
also res judicata, as the state court found that the          First, the deficiency claim that is the basis for this
foreclosure sale was valid. The court ruled against the       lawsuit was not a compulsory counterclaim in the state
present Defendants' claims of wrongful foreclosure at         court action. Texas law provides that if “a borrower
the summary judgment stage of the state court litiga-         files an action challenging the validity of a secured
tion. 22nd District Court Opinion, ¶ 14. The jury also        debt ...,” the secured party is not required to “coun-
found that the foreclosure was not wrongful. Plaintiff's      terclaim to collect on the debt if the creditor has a
Appendix, pg. 150. Defendants have brought forth no           contractual right to pursue a nonjudicial foreclo-
evidence that the foreclosure sale was invalid, and           sure.” Douglas v. FNCNB Tex. Nat. Bank, 979 F.2d
there is no genuine issue of material fact.                   1128, 1130 (5th Cir.1992), citing Kaspar v. Keller,
                                                              466 S.W.2d 326, 329 (Tex.Civ.App.-Waco 1971, writ
Finally, credit has been given for the amount received        ref'd n.r.e.); see also Thurman v. Federal Deposit Ins.
at the foreclosure sale and other legitimate credits.         Corp., 889 F.2d 1441, 1444 (5th Cir.1989). This rule
John Roth's affidavit and attached spreadsheet show a         allows what would ordinarily be a compulsory coun-
credit given for the $20,000 received at the foreclosure      terclaim to be filed in a separate suit to prevent the
sale. Roth Affidavit, ¶ 10. Other credits were made for       “borrower from depriving its lender of a choice of
an overpayment received from three CRP checks                 remedies.” Id. The Plaintiff in this case had a con-
applied to the debt, excess funds generated by a fore-        tractual right to pursue nonjudicial foreclosure, had a
closure sale on October 7, 2003, rent received, and           secured debt, and faced an action challenging that
receipt of additional CRP checks. Id. at ¶ 13. De-            debt's validity. The deficiency claim was therefore not
fendants are also entitled to a credit for the value of the   a compulsory counterclaim.
equipment foreclosed on in case No. 2:06-cv-153,
judgment in which is now final. FN1 Defendants have           The cases that Defendants cite for their opposite con-
produced no evidence to dispute the legitimacy of             clusion deal with various situations that are dissimilar
these credits, and there is no genuine issue of material      to the present case and do not support their argument
fact that credit was given.                                   that the deficiency action was a compulsory counter-
                                                              claim in the state court action. See, e.g., Landry v.
         FN1. Final judgment in case 2:06-cv-153              Cross Country Bank, 431 F.Supp.2d 682, 687
         was entered on January 15, 2008.                     (S.D.Tex.2003) (Counterclaim was an underlying debt
                                                              collection claim); Phillips v. FDIC, 124 B.R. 712,
Plaintiff has provided evidence showing its entitle-          717-18 (Bankr.W.D.Tex.1991) (Filing suit attacking
ment to recovery on a promissory note and on the              the collectability of a debt does not force the lender to
deficiency. The Defendants have not created any               pursue judicial foreclosure); Howe v. Vaughn, 913
genuine issues of material fact to prevent summary            F.2d 1138, 1144 (5th Cir.1990) (Dealing with the res
judgment on these issues.                                     judicata affect of a confirmation order).

         Defendants' Affirmative Defenses                     Second, the Court has already ruled on this issue in
                                                              Case 2:06-cv-153. The Court noted in that case that
                                                              the Defendants were contending that “claims for a
                      Res Judicata                            deficiency and judicial foreclosure were compulsory
                                                              counterclaims in a prior case.” Opinion in
*5 Defendants argue that summary judgment is inap-            2:06-cv-153, p. 4. Citing Douglas, the Court made the




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following conclusion of law, “If a debtor sues a cred-      (Tex.Civ.App.-Waco 1939, writ ref'd) (Jury verdict
itor to challenge a secured debt's validity, counter-       for plaintiff overturned on direct appeal based on
claims to recover the debt or to foreclose on the col-      statute of limitations defense); Perkins v. Groff, 936
lateral are not compulsory as long as the creditor has a    S.W.2d 661, 668 (Tex.App.-Dallas 1996, writ denied)
contractual right to pursue a nonjudicial foreclosure.”     (Summary judgment appropriately granted because
Id., page 13, ¶ 9. Since the issue was already adjudi-      plaintiff offered no explanation for delay in issuing
cated in a prior case, the Defendants are collaterally      citation); Rodriguez v. Tinsman & Houser, Inc., 13
estopped from raising it and it cannot be relitigated in    S.W.3d 804 (Tex.App.-San Antonio, 1999, pet. de-
this case.                                                  nied) (Summary judgment appropriately granted be-
                                                            cause plaintiff's explanation for delay in issuing cita-
*6 This affirmative defense therefore fails to prevent a    tion was inadequate).
grant of summary judgment for the Plaintiff.
                                                            These cases do not deal with the appropriate standard
                 Statute of Limitations                     in the present case. Here, because the Court has al-
                                                            ready ruled on the issue following a full trial, a dif-
Defendants also argue that the affirmative statute of       ferent standard applies. Federal Rule of Civil Proce-
limitations defense should prevent a grant of summary       dure 52(a) states, “Findings of fact, whether based on
judgment. Defendants point out that although this           oral or documentary evidence, shall not be set aside
lawsuit was filed within the statute of limitations,        unless clearly erroneous, and due regard shall be given
citation was not issued and service not made until after    to the opportunity of the trial court to judge of the
the limitations period had run. Defendants also pled        credibility of the witness.” The Defendants have in-
and argued this affirmative defense in case                 troduced no new evidence to show that the Court's
2:06-cv-153, judgment in which is now final. In that        ruling was clearly erroneous. The ruling should
case, the Court concluded, “Because Plaintiffs filed a      therefore not be disturbed, and the Defendants' af-
claim for deficiency 2:05-cv-243-J within two years of      firmative statute of limitations defense fails.
the foreclosure sale and used diligence in serving the
defendants, the statute of limitations does not bar their                         Conclusion
claim for a deficiency.” Opinion in 2:06-cv-153-J,
page 13, ¶ 7. Since this issue was already resolved in a    *7 The Plaintiff has provided evidence showing that
prior suit, collateral estoppel prevents its relitigation   there is no genuine issue of material fact regarding
now. Barr v. Resolution Trust Corp., 837 S.W.2d 627,        Plaintiff's entitlement to recover on the promissory
628 (Tex.1992).                                             note and deficiency. The Defendants' affirmative
                                                            defenses of res judicata and statute of limitations fail.
Defendants are correct that Plaintiff bore the burden at    The Court grants the Plaintiff's motion for summary
trial of explaining the reasonableness of the delay in      judgment on entitlement to monetary relief on the
issuing and serving citation on the Defendants. Zim-        basis of the promissory notes and deficiency.
merman v. Massoni, 32 S.W.3d 254, 256
(Tex.App.-Austin 2000, pet. denied). The Court heard        However, the Court cannot determine the exact dollar
testimony on the issue, and ruled that the Plaintiff's      figure that Plaintiff is entitled to until the equipment at
actions were reasonable. However, Defendants cite no        issue in case 2:06-cv-153 is foreclosed upon and credit
authority regarding the applicable standard when the        is given to the Defendants for the value of the
Court has already ruled on the issue after a trial on the   equipment. Plaintiff is entitled to $1,964,355.06, less
merits. The cases Defendants cite deal with other           the credits that will be given for the foreclosed upon
standards for various situations. See, e.g., Saenz v.       equipment. Plaintiff has 60 days from the date of this
Keller Industries of Texas, Inc., 951 F.2d 665, 667-68      memorandum opinion to submit competent summary
(5th Cir.1992) (Grant of summary judgment based on          judgment evidence detailing the credits given as a
reasonableness determination overruled by appellate         result of the equipment being foreclosed upon.
court); Bilsing v. State Industries, Inc., 173 F.Supp.2d
593, 596 (S.D.Tex.2001) (Grant of summary judg-             IT IS SO ORDERED.
ment based on reasonableness determination appro-
priately denied); Buie v. Couch, 126 S.W.2d 565             N.D.Tex.,2008.




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Rabo Agrifinance, Inc. v. Veigel Farm Partners
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END OF DOCUMENT




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EXHIBIT B
EXHIBIT C
Rabo Agrifinance, Inc. v. Terra XXI, Ltd., 336 P.3d 972 (2014)
2014 -NMCA- 106



                       336 P.3d 972                                [Holding:] The Court of Appeals, Fry, J., held that pursuant
             Court of Appeals of New Mexico.                       to the after-acquired title doctrine mortgagor's subsequently
                                                                   acquired 100 percent interest in the property inured to the
  RABO AGRIFINANCE, INC., Successor in Interest                    benefit of mortgagee.
  to Farm Credit Bank of Texas, Plaintiff–Appellee,
                             v.
   TERRA XXI, LTD., a Texas Limited Partnership,                   Affirmed.
   composed of Veigel Cattle Company, as General
     Partner; Robert Wayne Veigel, a/k/a Bob W.
     Veigel; Ella Marie Williams Vogel, a/k/a Ella                  West Headnotes (7)
     Marie Veigel; Veigel Cattle Company, a Texas
 corporation; Veigel Farm Partners, a Texas general
                                                                    [1]    Estoppel
 partnership d/b/a Veigel Partners; Bob Veigel, Inc.,                          Estoppel as to title subsequently acquired in
    a Texas corporation; Steve Veigel, Inc., a Texas                       general
 corporation; Veigel–Kirk, Inc., a Texas corporation;
                                                                           The common law doctrine of “after-acquired
     Vicki Veigel, Inc., a Texas corporation; Veigel                       title” is one under which title to land
  Farms, Inc., a Texas corporation; Terra Partners, a                      subsequently acquired by a grantor who
  Texas general partnership; Burnett & Veigel, Inc.,                       previously attempted to convey title to the same
   a Texas corporation, as general partner of Terra                        land, which he then did not own, completely and
  Partnership, a Texas general partnership; and, All                       automatically inures to the benefit of his prior
   Unknown Claimants of Interest in the Premises                           grantee.
   Adverse to the Plaintiff, Defendants–Appellants.
                                                                           Cases that cite this headnote
           No. 32,697. | June 25, 2014. |
        Certiorari Denied, Oct. 8, 2014, No. 34,891.                [2]    Estoppel
                                                                               Estoppel as to title subsequently acquired in
Synopsis                                                                   general
Background: Mortgagee brought foreclosure action seeking
                                                                           Application of the after-acquired title doctrine is
to confirm Texas judgment in the amount of $3,958.577.97,
                                                                           limited by the extent of the grantor's conveyance.
less a $200,000 credit, and foreclosure of the mortgage
covering the property, and mortgagor counterclaimed for                    Cases that cite this headnote
failure to act in good faith, prima facie tort, mortgages
extinguished, civil conspiracy, and quiet title and foreclosure.
The District Court, Quay County, Drew D. Tatum, D.J.,               [3]    Estoppel
granted summary judgment confirming the judgment amount,                       Estoppel as to title subsequently acquired in
and in favor of mortgagee on its first mortgage lien interest              general
as to an undivided 50% interest in the subject property,                   A grantor who executes a deed purporting to
and dismissed mortgagor's counterclaims. Mortgagee and                     convey land to which he has no title or to
mortgagor cross-appealed, and the Court of Appeals, 274                    which he has a defective title at the time of
P.3d 127, affirmed in part, reversed in part, and remanded.                the conveyance will not be permitted, when he
On remand, the District Court, Quay County, Drew D.                        afterward acquires good title to the land, to claim
Tatum, D.J., granted mortgagee summary judgment and                        in opposition to his deed as against the grantee.
subsequently denied mortgagor's motion for relief from
judgment. Mortgagor appealed.                                              Cases that cite this headnote


                                                                    [4]    Mortgages
                                                                              After-acquired property or title


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        Mortgagor's grant of the mortgage “with
        mortgage covenants” purported to convey a 100            Keleher & McLeod, P.A., Thomas C. Bird, James L.
        percent interest in the property to mortgagee,           Rasmussen, Justin B. Breen, Albuquerque, NM, for
        even though mortgagor only held a 50 percent             Appellants.
        interest in the property at the time of the
        mortgage, and thus, pursuant to the after-
        acquired title doctrine mortgagor's subsequently                                   OPINION
        acquired 100 percent interest in the property
                                                                 FRY, Judge.
        inured to the benefit of mortgagee.
                                                                 {1} Defendants, collectively referred to as Terra throughout
        Cases that cite this headnote
                                                                 this Opinion, appeal the district court's orders granting
                                                                 summary judgment in favor of Plaintiff 1 in a mortgage
 [5]    Deeds
                                                                 foreclosure proceeding and denying their motion under Rule
            Quitclaim
                                                                 1–060(B)(5) NMRA for relief from the judgment. Terra
        An essential characteristic of a quitclaim deed is       argues that the district court erred in applying the after-
        that it contains no warranties or covenants by the       acquired title doctrine and in denying their post-judgment
        grantor.                                                 motion under Rule 1–060(B)(5), arguing that the judgment
                                                                 has been satisfied. Because we disagree with Terra, we affirm.
        Cases that cite this headnote


 [6]    Appeal and Error                                         BACKGROUND
           Vacating Judgment or Order                             [1] {2} This is the second time this case has been before
                                                                 this Court, and we reiterate the basic facts underlying this suit
        Appellate court generally reviews the trial court's
                                                                 from the first opinion. Rabo Agrifinance, Inc. v. Terra XXI,
        ruling on a motion for relief from judgment based
                                                                 Ltd., 2012–NMCA–038, 274 P.3d 127. Plaintiff is the holder
        on satisfaction of the judgment for an abuse of
                                                                 of two promissory notes secured by a mortgage covering
        discretion except where the issue is one of pure
                                                                 property located in Quay and Guadalupe Counties, New
        law. NMRA, Rule 1–060(B)(5).
                                                                 Mexico (the New Mexico property) and a deed of trust
        Cases that cite this headnote                            covering land in Deaf Smith County, Texas. Id. ¶ 2. At the
                                                                 time Terra granted the mortgage, it owned an undivided fifty
                                                                 percent interest in the New Mexico property. Id. Five years
 [7]    Mortgages                                                later, Terra received a warranty deed to the New Mexico
             Presentation and reservation in lower court         property that effectively gave it a 100 percent ownership
        of grounds of review                                     interest in the property. Id. In 2005, Plaintiff successfully
        Mortgagor did not preserve on appeal its                 sued in federal court to collect on the amounts due on the
        claim that primary fund doctrine required that           promissory notes. Id. ¶ 3. Plaintiff subsequently brought suit
        foreclosure judgment be satisfied first from             in New Mexico to confirm the judgment entered against Terra
        Texas property, where mortgagor did not raise            and sought to foreclose the mortgage on the New Mexico
        the argument in its motion for relief from               property to the full extent of Terra's 100 percent interest on the
        judgment. NMRA, Rule 1–060(B)(5).                        basis of the after-acquired title doctrine. Id. ¶ 4. “The common
                                                                 law doctrine of after-acquired title is one under which title
        1 Cases that cite this headnote
                                                                 to land subsequently acquired by a grantor who previously
                                                                 attempted to convey title to the same land, which he then did
                                                                 not own, completely and automatically inures to the benefit
                                                                 of his prior grantee.” Hays v. King, 1989–NMSC–078, ¶ 8,
Attorneys and Law Firms                                          109 N.M. 202, 784 P.2d 21.

*973 Rowley Law Firm, L.L.C., Richard F. Rowley, II,
                                                                 {3} In the first appeal, we reversed the district court's ruling
Richard F. Rowley, III, Clovis, NM, for Appellee.
                                                                 in favor of Terra that the doctrine of after-acquired title



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did not apply in this case. We held that “as a general
matter, the after-acquired title doctrine can be applied in
New Mexico in favor of a mortgagee of property based on          A. Terra Purported to Convey a 100 Percent Interest in
mortgage covenants unless particular circumstances warrant       the Property
non-application.” Rabo Agrifinance, Inc., 2012–NMCA–038,          [2] [3] {7} As a general matter, we take no issue with
¶ 18, 274 P.3d 127. Because the mortgage purported to            Terra's argument that application of the after-acquired title
convey Terra's interest in the New Mexico property “with         doctrine is limited by the extent of the grantor's conveyance.
mortgage covenants,” id. ¶ 7 (internal quotation marks           As noted above, the doctrine “estops a grantor who obtains
omitted), we remanded to the district court for further          title to land after already granting the land from claiming the
proceedings regarding the application of the after-acquired      land as against the grantee.” Rendleman v. Heinley, 2007–
title doctrine to the facts of this case. Id. ¶ 18.              NMCA–009, ¶ 3, 140 N.M. 912, 149 P.3d 1009. “A grantor
                                                                 who executes a deed purporting to convey land to which he
 *974 {4} On remand, the district court applied the after-       has no title or to which he has a defective title at the time of the
acquired title doctrine and concluded that because Terra         conveyance will not be permitted, when he afterward acquires
granted the mortgage at issue “with mortgage covenants,” it      good title to the land, to claim in opposition to his deed as
is estopped from claiming that the mortgage did not attach       against the grantee [.]” Hays, 1989–NMSC–078, ¶ 9, 109
to the entire property when Terra subsequently obtained a        N.M. 202, 784 P.2d 21 (internal quotation marks and citation
100 percent interest. Because Terra was estopped to claim        omitted). Terra's argument is therefore correct to the extent
that the mortgage did not attach to the entire New Mexico        that if it did not purport to convey a 100 percent interest in
property, the district court granted summary judgment in         the property, the after-acquired title doctrine could not benefit
favor of Plaintiff.                                              Plaintiff. See Rendleman, 2007–NMCA–009, ¶ 18, 140 N.M.
                                                                 912, 149 P.3d 1009 (explaining that the after-acquired title
{5} Following the entry of summary judgment, Terra sought        doctrine did not apply in another case “because there had been
to conduct further discovery on the issue of whether land in     no attempt by the grantor to convey the property in question
Texas that was also used to secure the mortgage had been         to one of the parties”). Thus, the threshold issue before us is
sold, and, if so, whether the proceeds of the alleged sale       what Terra purported to convey in the mortgage documents.
satisfied the judgment. Terra ultimately filed a motion for      We review this issue de novo. Id. ¶ 14 (“Whether the doctrine
relief from the judgment under Rule 1–060(B)(5), arguing         of after-acquired title applies is a question of law, which we
that the judgment had indeed been satisfied because Plaintiff    review de novo.”).
allegedly received sufficient funds in the sale of the Texas
property to satisfy its judgment against Terra. The district      [4] {8} Terra argues that it did not purport to convey a 100
court denied Terra's motion, and Terra now appeals.              percent interest in the property because it only purported to
                                                                 convey its “interest in and to” the New Mexico property in the
                                                                 mortgage. Terra likens this language to a quitclaim deed, to
DISCUSSION                                                       which the after-acquired title doctrine is likely inapplicable.
                                                                 See Hays, 1989–NMSC–078, ¶ 5, 109 N.M. 202, 784 P.2d
I. After–Acquired Title Doctrine                                 21 (“[The plaintiff cites] as authority ... cases supporting the
{6} In arguing that the district court erred in applying         propositions that a quitclaim deed vests only the title held
the after-acquired title doctrine, Terra makes three main        by the grantor at the time of the conveyance, and that the
contentions. Terra argues that (1) the after-acquired title      after-acquired title doctrine does not apply to one claiming
doctrine is limited by the extent of the grantor's conveyance,   title under a quitclaim deed.... [W]e have no quarrel with the
(2) the mortgage covenants did not expand the interest Terra     substance of these cited authorities[.]”). Terra further argues
purported to convey, and (3) the district court mistakenly       that language in the mortgage stating that Terra granted,
focused on Plaintiff's intent in its application of the after-   mortgaged, and conveyed its interest in and to the New
acquired title doctrine. We address these contentions in two     Mexico property “with mortgage covenants” does not operate
parts. First, we group Terra's first two arguments into the      to enlarge *975 the interest purportedly conveyed by the
basic determination of what Terra purported to convey in the     mortgage. For the reasons stated below, we conclude that the
mortgage. Second, we determine whether the district court        grant of the mortgage “with mortgage covenants” purported
improperly considered the Plaintiff's intent in applying the     to convey a 100 percent interest in the property and that
doctrine.


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the district court therefore properly applied the after-acquired    of the interest Terra conveyed, as Terra argues. Instead,
title doctrine.                                                     when construed in accordance with Section 47–1–40, “with
                                                                    mortgage covenants” clarifies what “interest in and to” the
 [5] {9} As an initial matter, we reject Defendants' invitation     property Terra purported to convey: fee simple absolute. This
to view language in the mortgage as analogous to a quitclaim        Court's opinion in the first appeal concluded as much in
deed so as to preclude application of the after-acquired            the general sense, and we see no reason to fully reiterate
title doctrine. “[A]n essential characteristic of a quitclaim       this Court's analysis on this point. Rabo Agrifinance, Inc.,
deed is that it contains no warranties or covenants by the          2012–NMCA–038, ¶ 12, 274 P.3d 127 (stating that it is
grantor.” R & R Land Dev., L.L.C. v. Am. Freightways, Inc.,         well settled that when one purports to convey land in fee
389 S.W.3d 234, 242 (Mo.Ct.App.2012); see 23 Am.Jur.2d              simple through a mortgage, any title to the property acquired
Deeds § 10 (2014). The mortgage in this case was explicitly         afterwards will inure to the benefit of the mortgagee). In sum,
granted “with mortgage covenants” as well as with a litany          because Terra purported to convey the entire property listed
of further “representations, warranties, and covenants.” We         in the mortgage, the district court properly applied the after-
thus conclude that any similarity between the “my interest in       acquired doctrine to conclude that the subsequently acquired
and to” language in this mortgage and language often found          fifty percent interest inured to the benefit of Plaintiff. 2
in quitclaim deeds ends at a purely semantic level.

{10} Furthermore, the phrase “mortgage covenants” has               B. The District Court Did Not Rely on the Grantee's
a specific, statutorily defined meaning in New Mexico.              Intent
NMSA 1978, Section 47–1–40 (1947) states that the use of            {12} Terra also argues that the district court inappropriately
“mortgage covenants” in a mortgage is construed to mean             focused on the intent of the grantee—Plaintiff—in applying
that “the mortgagor ... covenants with the mortgagee ...            the after-acquired title doctrine. While we are uncertain
that he is lawfully seized in fee simple of the granted              *976 which portion of the district court's decision evinces
premises; that they are free from all encumbrances; that            a reliance on Plaintiff's intent since Terra does not provide
the mortgagor has good right to sell and convey the same;           citation to the record to support this assertion, we assume that
and that he will ... warrant and defend the same to the             the basis of Terra's contention is the district court's statement
mortgagee ... forever against the lawful claims and demands         in its decision letter that Plaintiff “believed the mortgage to
of all persons.” (emphasis added) (internal quotation marks         cover 100 [percent] of the real property at issue herein, but
omitted). We therefore construe “with mortgage covenants”           [Terra] only owned an undivided 50 [percent] interest in the
as covenanting the entirety of the premises listed in the           real property.” Our reading of the district court's decision on
mortgage. We do not deny that this presumption can be               the after-acquired title doctrine issue, however, does not show
overcome by an express statement to the contrary; however,          any reliance by the district court on Plaintiff's intent. Similar
we find no such language in the mortgage at issue. In               to what we concluded above, the district court determined that
particular, the mortgage makes no mention that the granted          Terra “granted the mortgage ‘with mortgage covenants' [and
premises are limited to a fifty percent interest, and we would      is] now estopped by the after-acquired title doctrine from
be required to read such language into the mortgage to              claiming the mortgage did not attach to the entire real property
determine that the statement “my interest in and to” referred       at the time [Terra] obtained [a 100 percent interest] in the real
to only a fifty percent interest. Cf. Sharpe v. Smith, 1961–        property.”
NMSC–038, ¶ 18, 68 N.M. 253, 360 P.2d 917 (“It is the intent
which is expressed in the deed and not a secret intention of the
party ... existing at the time of execution that is controlling.”   II. Rule 1–060(B)(5)
(internal quotation marks omitted)).                                 [6] {13} Terra argues that the district court erred in denying
                                                                    its motion under Rule 1–060(B)(5) that the judgment in this
{11} Thus, when we construe the language “with mortgage             case has been satisfied. Rule 1–060(B)(5) provides that “the
covenants” in accordance with Section 47–1–40, the                  court may relieve a party or his legal representative from a
mortgage purports to convey the entirety of the granted             final judgment ... [when] the judgment has been satisfied,
premises—the property listed in the mortgage—and not                released, or discharged[.]” “We generally review the trial
only the fifty percent interest Terra possessed at the time         court's ruling under Rule 1–060(B) [ (5) ] for an abuse of
it executed the mortgage. This is not an “expansion”                discretion except ... where the issue is one of pure law.” Edens



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                                                                   and the property securing such obligations was foreclosed
v. Edens, 2005–NMCA–033, ¶ 13, 137 N.M. 207, 109 P.3d
                                                                   on. Therefore, because Terra cites no authority to support its
295 (internal quotation marks and citation omitted).
                                                                   proposition, we conclude that the district court did not abuse
                                                                   its discretion in denying the Rule 1–60(B)(5) motion on this
{14} We briefly set out a simplified version of the alleged
                                                                   point. In re Adoption of Doe, 1984–NMSC–024, ¶ 2, 100
facts pertinent to Terra's argument. In addition to securing
                                                                   N.M. 764, 676 P.2d 1329 (stating that where a party cites no
the underlying notes in this case with the mortgage covering
                                                                   authority to support an argument, we may assume no such
the New Mexico property, Terra also secured the notes with
                                                                   authority exists).
a deed of trust covering a large portion of land in Texas.
Terra subsequently granted second and third lien interests on
                                                                    [7] {17} As for Terra's argument regarding the primary fund
the properties. Following default and non-judicial foreclosure
                                                                   doctrine, we decline to review this contention because Terra
of the Texas property, Ag Acceptance Corporation (AAC),
                                                                   did not *977 preserve the error below. Terra acknowledges
the third lienholder and entity seeking foreclosure, was the
                                                                   that it did not refer to the primary fund doctrine in its Rule 1–
successful bidder and took the Texas property subject to
                                                                   060(B)(5) motion, nor did it cite to the case it primarily relies
Plaintiff's first and second liens. Terra alleges that AAC then
                                                                   on to support its argument. However, Terra contends that
sold the Texas property to Champion Feeders, LLC some
                                                                   its argument below embodies the principles of the primary
ten years later, free and clear of Plaintiff's first and second
                                                                   fund doctrine and that therefore the issue was preserved.
liens and the related judgment lien. Terra argues that any
                                                                   We disagree. We will not conclude that the district court
payment Plaintiff received from AAC to release its liens on
                                                                   abused its discretion in failing to apply a doctrine of law
the property should have been credited against the judgment.
                                                                   when that doctrine was not presented to the district court. See
                                                                   Woolwine v. Furr's, Inc., 1987–NMCA–133, ¶ 20, 106 N.M.
{15} Terra raises two points. Terra first argues that the
                                                                   492, 745 P.2d 717 (stating that to preserve an issue for review
debt and judgment in the present case has been satisfied by
                                                                   on appeal, it must appear that the plaintiff fairly invoked a
“necessary implication” as a result of the conveyance of the
                                                                   ruling on the same grounds argued in the appellate court).
Texas property free and clear of Plaintiff's liens. Second,
                                                                   Accordingly, we conclude that the district court did not abuse
Terra argues that if Plaintiff denies receiving compensation
                                                                   its discretion in denying Terra's motion under Rule 1–060(B)
for the release of its liens on the Texas property, the primary
                                                                   (5).
fund doctrine requires that the judgment be satisfied first from
the Texas property, not the New Mexico property.
                                                                   CONCLUSION
{16} Terra cites no authority to support its first argument        {18} For the foregoing reasons, we affirm the district court's
—that monies paid by a successful bidder in a foreclosure          grant of summary judgment and its denial of Terra's Rule 1–
sale to a senior lienholder in order to extinguish the senior      060(B)(5) motion.
lienholder's liens should be credited toward the judgment
debtor's debt. Instead, Terra cites NMSA 1978, § 48–7–4(A)         {19} IT IS SO ORDERED.
(1991), which states that “[w]hen any debt ... secured by a
mortgage or deed of trust upon any real estate in the state
has been fully satisfied, it is the duty of the mortgagee ...
to cause the full satisfaction of it to be entered of record       WE CONCUR: JAMES J. WECHSLER and MICHAEL E.
in the office of the county clerk.” We fail to see how this        VIGIL, Judges.
statute supports Terra's assertion. If Terra had satisfied its
                                                                   All Citations
debt to Plaintiff then Plaintiff would have a duty to record it
in the office of the county clerk. See § 48–7–4(A). That is        336 P.3d 972, 2014 -NMCA- 106
not what happened here. Terra defaulted on its obligations,


Footnotes
1      In this Opinion, the term “Plaintiff” includes Rabo Agrifinance, Inc. and its predecessor in interest, Farm Credit Bank of
       Texas.
2      Terra requested that if this Court affirms the judgment, the judgment be modified to exclude the “Snipes Property,” which
       was excluded from the judgment in the first appeal but was not excluded from the judgment we are reviewing in the


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       present appeal. We believe such a determination—whether the property was inadvertently included in the judgment—
       is best handled by the district court on remand.


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EXHIBIT D
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